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                              THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN
                                       EASTERNDIVISION
                                               DIVISION

                                                      :
League of Women Voters of Ohio et al.
__________________________________                    :              2:20-cv-3843
                                                           Case No. _________________
                                                      :            Michael H. Watson
                                                           Judge: ___________________
                v.                                    :    Corporate Disclosure Statement
                                                      :
Frank Larose, Ohio Secretary of State
__________________________________                    :
                                                      :

        Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
held company that “controls, is controlled by, or is under common control with a publicly controlled
corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
throughout the pendency of this case.
In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:
'RQDOG-7UXPSIRU3UHVLGHQW,QFWKH2KLR5HSXEOLFDQ3DUW\WKH5HSXEOLFDQ1DWLRQDO&RPPLWWHH
DQGWKH1DWLRQDO5HSXEOLFDQ&RQJUHVVLRQDO&RPPLWWHH

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

        ___ YES           ✔ NO
                         ___

        If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:
        ________________________________________________________________________
        ________________________________________________________________________

2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome?

        ___ YES           ✔ NO
                         ___

        If the answer is YES, list the identity of such corporation and the nature of the financial interest.
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________

        M. Ryan Harmanis
        ______________________________                               08/17/20
                                                                     ________________________
        Signature of Counsel                                         Date


                                          “Certificate of Service”

             COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                  TO UPDATE AND SUPPLEMENT THIS STATEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of this filing to all

counsel of record.



                                                  /s/ M. Ryan Harmanis
                                                  Counsel for Proposed Intervenor-Defendants
